Case 23-10831-MFW   Doc 651-24   Filed 11/01/23   Page 1 of 14




                        Exhibit 3

               Confirmation Hearing Notice
               Case 23-10831-MFW              Doc 651-24         Filed 11/01/23         Page 2 of 14




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

                                                         Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                         (Jointly Administered)
                               Debtors.


              NOTICE OF (I) APPROVAL OF DISCLOSURE STATEMENT,
        (II) ESTABLISHMENT OF VOTING RECORD DATE, (III) HEARING ON
     CONFIRMATION OF THE PLAN, (IV) PROCEDURES FOR OBJECTING TO THE
             CONFIRMATION OF THE PLAN, AND (V) PROCEDURES AND
                      DEADLINE FOR VOTING ON THE PLAN

TO ALL PARTIES IN INTEREST IN THE DEBTORS’ CHAPTER 11 CASES:

         PLEASE TAKE NOTICE THAT on October [●], 2023, Lordstown Motors Corp. and its
affiliated debtors and debtors in possession in the above-captioned chapter 11 cases (together, the
“Debtors”) filed their (i) Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
Corp. and Its Affiliated Debtors [D.I. [●]] (together with all schedules and exhibits thereto, and as
may be modified, amended, or supplemented from time to time, the “Plan”); and (ii) the Disclosure
Statement Pursuant to 11 U.S.C. § 1125 with Respect to Modified First Amended Joint Chapter
11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors [D.I. [●]] (together with all
schedules and exhibits thereto, and as may be modified, amended, or supplemented from time to
time, the “Disclosure Statement”).2

             PLEASE TAKE FURTHER NOTICE THAT:

        1.     Approval of Disclosure Statement. On [●], 2023, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the
“Disclosure Statement Order”) approving the Disclosure Statement. The Disclosure Statement
Order, among other things, authorizes the Debtors to solicit votes to accept or reject the Plan and
establishes procedures related thereto (the “Solicitation Procedures”).




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan,
the Disclosure Statement (as defined below), or the Solicitation Procedures (as defined below), as applicable.
           Case 23-10831-MFW           Doc 651-24      Filed 11/01/23     Page 3 of 14




       2.       Approved Dates and Deadlines. The following dates and deadlines in connection
with the Solicitation Procedures and Confirmation Hearing in the Disclosure Statement Order:

                Event                                                Date
 Voting Record Date                                    October 31, 2023

 Solicitation Date                                     Five (5) business days after the entry
                                                       of the Disclosure Statement Order, or
                                                       as soon as reasonably practicable
                                                       thereafter
 Publication Deadline                                  Five (5) business days after the entry
                                                       of the Disclosure Statement Order, or as
                                                       soon     as    reasonably     practicable
                                                       thereafter
 Rule 3018(a) Motion Deadline                          November 27, 2023 at 4:00 p.m. (ET)
 Voting Resolution Event Deadline                      December 5, 2023
 Plan Supplement Deadline                              December 1, 2023 (The date that is no
                                                       later than seven (7) days prior to the
                                                       Plan Objection Deadline)
Deadline to file proposed form of the Confirmation The date that is no later than seven (7)
Order                                              days prior to the Plan Objection
                                                   Deadline
 Plan Objection Deadline                               December 8, 2023 at 4:00 p.m. (ET)
 Voting Deadline                                       December 12, 2023 at 5:00 p.m. (ET)
 Deadline to file (i) Reply to Plan Objections, (ii)   December 15, 2023
 Brief in Support of Plan Confirmation; (iii)
 Declarations in Support of Plan Confirmation,
 and (ii) Voting Report
 Confirmation Hearing                                  December 19, 2023, subject to Court’s
                                                       availability


       3.      Confirmation Hearing. A hearing to consider confirmation of the Plan has been
scheduled for December 19, 2023 at [●] (prevailing Eastern Time) (the “Confirmation
Hearing”) before the Honorable Mary F. Walrath, United States Bankruptcy Judge, at the
Bankruptcy Court, located at 824 North Market Street, Fifth Floor, Courtroom No. 4, Wilmington,
Delaware 19801. Please be advised that the Confirmation Hearing may be adjourned or
continued from time to time by the Bankruptcy Court or the Debtors without further notice
other than as indicated in any notice or agenda of matters scheduled for a particular hearing
that is filed with the Bankruptcy Court or by being announced in open court. If the
Confirmation Hearing is continued, the Debtors will post the new date and time of the

                                                  2
             Case 23-10831-MFW        Doc 651-24     Filed 11/01/23     Page 4 of 14




Confirmation Hearing at https://www.kccllc.net/lordstown. The Plan may be modified, if
necessary, prior to, during, or as a result of the Confirmation Hearing, without further notice to
creditors or other parties in interest, unless such notice is required by the Bankruptcy Code,
Bankruptcy Rules, or other applicable law.
       4.     Summary of Status and Voting Rights. In accordance with Bankruptcy Code
Section 1122 and 1123, the Plan contemplates classifying Holders of Claims and Interests into
various Classes for all purposes, including with respect to voting on the Plan, as follows:

                            Summary of Status and Voting Rights
      Class        Claim / Interest            Status                  Voting Rights

                    Other Priority                                   Not Entitled to Vote
        1                                   Unimpaired
                       Claims                                       (Presumed to Accept)

                                                                     Not Entitled to Vote
        2          Secured Claims           Unimpaired
                                                                    (Presumed to Accept)

                      General
        3                                    Impaired                  Entitled to Vote
                  Unsecured Claims

                    Intercompany                                     Not Entitled to Vote
        4                                   Unimpaired
                        Claims                                      (Presumed to Accept)

                                                                     Deemed to Accept
                  Foxconn Preferred
        5                                   Unimpaired           (Provided that Provisional
                   Stock Interests
                                                                  Votes Will Be Solicited)

                    Intercompany
        6                                   Unimpaired                Deemed to Accept
                       Interests

                   Common Stock
        7                                    Impaired                  Entitled to Vote
                     Interests

                    Section 510(b)
        8                                    Impaired                  Entitled to Vote
                       Claims

                    RIDE Section
        9                                    Impaired                  Entitled to Vote
                    510(b) Claims

                    Ohio Securities
        10           Class Action           Unimpaired                Deemed to Accept
                       Claims


                                                3
           Case 23-10831-MFW           Doc 651-24      Filed 11/01/23     Page 5 of 14




        5.      Voting Record Date. Subject to the Solicitation Procedures, the following holders
of Claims and Interests against the Debtors as of October 31, 2023 (the “Voting Record Date”)
are entitled to vote on the Plan:

                              Class                           Description

                             Class 3                  General Unsecured Claims

                             Class 5                   Foxconn Preferred Stock
                                                              Interests

                             Class 7                    Common Stock Interests

                             Class 8                     Section 510(b) Claims

                             Class 9                 RIDE Section 510(b) Claims

                            Class 10                  Ohio Securities Class Action
                                                     Claims (For Class 10 Election)


       6.      Voting Deadline. All votes to accept or reject the Plan must be actually received
by the Solicitation Agent by December 12, 2023 at 5:00 p.m. (prevailing Eastern Time) (the
“Voting Deadline”). Any failure to follow the voting instructions included with your Ballot may
disqualify your vote.
        7.      Voting Procedures for Class 7 Common Stock Interests. By the Solicitation Date,
the Solicitation Agent shall distribute or cause to be distributed (i) a Solicitation Package to each
beneficial Holder (each a “Beneficial Holder”) of each registered or beneficial Holder of a
Common Stock Interest in Class 7 as of the Voting Record Date whether directly or through a
Nominee (as defined below), and (ii) an appropriate number of Solicitation Packages and a master
ballot (a “Master Ballot”) to each bank, broker, or other intermediary (each a “Nominee”)
identified to the Solicitation Agent as a Holder of record through which one or more such
Beneficial Holders holds such Claim in ‘street name’ as of the Voting Record Date. The
Solicitation Agent shall also distribute a Solicitation Package to each Entity that is directly
registered as a Beneficial Holder (i.e. does not hold their Claim through a Nominee) as of the
Voting Record Date. All Beneficial Holder Ballots cast to accept or reject the Plan must be
properly completed, executed, and returned to the Nominees in such manner to allow sufficient
time for the Voting Nominee to process such votes on Master Ballots and mail or deliver such
Master Ballots to the Solicitation Agent so that they are actually received by the Solicitation Agent
by the Voting Deadline.

       8.       Parties in Interest Not Entitled to Vote. All Holders of Unclassified Claims and
Holders of Unimpaired Claims and Interests in classes conclusively presumed to accept the Plan
are not entitled to vote and will not receive a Ballot. Such Holders will instead receive the (i)
Confirmation Hearing Notice, and (ii) Notice of Non-Voting Status to Holders of Unclassified and
Unimpaired Claims Conclusively Presumed to Accept the Plan. If you disagree with the amount

                                                 4
           Case 23-10831-MFW           Doc 651-24      Filed 11/01/23     Page 6 of 14




set forth by the Debtors for your Claim in the Schedules or if you have filed a Proof of Claim and
disagree with either (i) the Debtors’ objection to your Claim and believe that you should be entitled
to vote on the Plan; or (ii) the Debtors’ classification or request for estimation of your Claim and
believe that you should be entitled to vote on the Plan in a different amount or class, you must file
with the Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a),
temporarily allowing such claim for purposes of voting to accept or reject the Plan (a “Rule
3018(a) Motion”). All Rule 3018(a) Motions must be filed with the Bankruptcy Court and served
on the Debtors on or before November 27, 2023 at 4:00 p.m. (prevailing Eastern Time) (the
“Rule 3018(a) Motion Deadline”). If a creditor files a timely Rule 3018(a) Motion, such
creditor’s Ballot shall not be counted unless temporarily allowed by the Bankruptcy Court for
voting purposes pursuant to a Resolution Event prior to December 5, 2023 (the “Voting
Resolution Event Deadline”) or as otherwise set forth in the Disclosure Statement Order.

        9.     Calculation of Votes With Respect to Litigation Claims. Each Claim Filed or
scheduled on account of a claim, cause of action, or litigation against the Debtors, for which a
Proof of Claim has been timely filed and which has not been fixed pursuant to a judgment or
settlement entered into and approved by a court of competent jurisdiction, including the
Bankruptcy Court, prior to the Voting Record Date and reflects, in whole or in part, an unliquidated
and/or contingent claim that is not subject to a pending objection (regardless of whether such Claim
as described in Section IV.B.7(c) of the Solicitation Procedures is wholly or partially contingent
or non-contingent or liquidated or unliquidated) (each a “Litigation Claim” and collectively,
“Litigation Claims”), shall be allowed temporarily for voting purposes only and not for purposes
of allowance or distribution in the amount of One Dollar ($1.00) per such Claim. The temporary
allowance of a Litigation Claim in the amount of One Dollar ($1.00) is solely for voting purposes,
and will not be binding upon the holder, the Debtors, or any other party for any purpose other than
voting on the Plan. Any Holder of a Litigation Claim that seeks different treatment for such Claim
for voting purposes is required to file a Rule 3018(a) Motion by the applicable Rule 3018(a)
Motion Deadline and otherwise satisfy the conditions set forth in Section III.C of the Solicitation
Procedures. In accordance with Bankruptcy Rule 3018, any Ballot submitted by a holder of a
Litigation Claim that files a Rule 3018(a) Motion will be counted solely in accordance with the
Solicitation Procedures unless and until, after notice and a hearing, such Claim is temporarily
allowed by the Bankruptcy Court for voting purposes only in a different amount.

        10.    Plan Supplement. The Debtors will file the Plan Supplement documents on or
before December 1, 2023. The Plan Supplement will include, as applicable: (i) New
Organizational Documents, (ii) Identities of members of the New Board, (iii) Schedule of Retained
Causes of Action, (iv) Post-Effective Date Debtor Amount Budget, (v) Identity of Claims
Ombudsman, (vi) Claims Ombudsman Agreement, (vii) Identity of Litigation Trustee, and (viii)
Litigation Trust Agreement. The Plan Supplement will be served only on those parties that have
requested notice in the Chapter 11 Cases pursuant to Bankruptcy Rule 2002. Once the Plan
Supplement is filed, a copy will also be available for review, free of charge, on the Debtors’
restructuring website at https://www.kccllc.net/lordstown.

       11.     Cure and Assumption Notice. The Debtors will file a Cure and Assumption Notice
within 14 days prior to the Confirmation Hearing, serve the Cure and Assumption Notice on parties
to executory contracts or unexpired leases to be assumed or assumed and assigned reflecting the
Debtors’ intention to potentially assume or assume and assign the contract or lease in connection

                                                 5
             Case 23-10831-MFW        Doc 651-24     Filed 11/01/23     Page 7 of 14




with this Plan and, where applicable, setting forth the proposed Cure Amount (if any). Any
objection by a counterparty to an executory contract or unexpired lease to the proposed
assumption, assumption and assignment, or related Cure Amount must be filed, served, and
actually received by the Debtors within ten (10) days of the service of the assumption notice, or
such shorter period as agreed to by the parties or authorized by the Bankruptcy Court.

        12.     Objections to Confirmation. The deadline to object or respond to confirmation
of the Plan is December 8, 2023 at 4:00 p.m. (prevailing Eastern Time) (the “Plan Objection
Deadline”). Any objections or responses to confirmation of the Plan, must: (i) be in writing;
(ii) conform to the applicable Bankruptcy Rules and Local Rules, (iii) state the name and address
of the objecting party and the nature and amount of the Claim of such party; (iv) state with
particularity the legal and factual basis and nature of any objection to the Plan and include any
evidentiary support therefor, and if practicable, a proposed modification to the Plan that would
resolve such objection; and (v) be filed with the Bankruptcy Court, together with proof of service
on or before the Plan Objection Deadline, and served so as to be actually received by the
following parties on or before the Plan Objection Deadline:

       (a)     counsel to the Debtors, (i) White & Case LLP, Southeast Financial Center, 200
               South Biscayne Boulevard, Suite 4900, Miami, FL 33131 (Attn: Thomas E Lauria
               (tlauria@whitecase.com), Matthew Brown (mbrown@whitecase.com), and Fan B.
               He (fhe@whitecase.com)), 1221 Avenue of the Americas, New York, NY 10020
               (Attn: David Turetsky (david.turetsky@whitecase.com)), 111 South Wacker Drive,
               Suite 5100, Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)),
               and 555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto
               Kampfner (rkampfner@whitecase.com), Doah Kim (doah.kim@whitecase.com),
               and RJ Szuba (rj.szuba@whitecase.com)), and (ii) Womble Bond Dickinson (US)
               LLP, 1313 North Market Street, Suite 1200, Wilmington, Delaware 19801 (Attn:
               Donald J. Detweiler (don.detweiler@wbd-us.com) and Morgan L. Patterson
               (morgan.patterson@wbd-us.com));

       (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
               (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov));

       (c)     counsel to the Creditors’ Committee, Troutman Pepper Hamilton Sanders LLP,
               Hercules Plaza, Suite 5100 1313 N. Market Street, Suite 5100 Wilmington, DE
               19801 (Attn: David M. Fournier (david.fournier@troutman.com), 875 Third
               Avenue New York, NY 10022 (Attn: Deborah Kovsky-Apap
               (deborah.kovsky@troutman.com), and 3000 Two Logan Square, 18th & Arch
               Streets,    Philadelphia,   PA     19103    (Attn:    Francis   J.   Lawall
               (francis.lawall@troutman.com)); and

       (d)     counsel to the Equity Committee, (i) Morris James LLP, 500 Delaware Avenue,
               Suite     1500,     Wilmington,   DE    19801    (Attn:   Eric    J.    Monzo
               (emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com));
               and (ii) Brown Rudnick LLP, 7 Times Square, New York, NY 10036 (Attn: Robert
               J.    Stark     (rstark@brownrudnick.com)    and   Bennett     S.    Silverberg
               (bsilverberg@brownrudnick.com)).

                                                6
            Case 23-10831-MFW          Doc 651-24      Filed 11/01/23     Page 8 of 14




     13.  IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED
AND SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY
BE BARRED FROM OBJECTING TO CONFIRMATION OF THE PLAN AND MAY
NOT BE HEARD AT THE CONFIRMATION HEARING.

        Additional Information. If you wish to receive additional copies of the Plan or the
Disclosure Statement, you may receive copies free of charge from the Debtors’ Solicitation Agent
by: (a) calling the Debtors’ toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424)
236-7235       (international);     (b) visiting    the    Debtors’     restructuring  website     at
https://www.kccllc.net/lordstown; (c) writing to Lordstown Processing Center, c/o Kurtzman
Carson       Consultants     LLC,       222      N.   Pacific     Coast    Highway,     Suite    300,
El Segundo, CA 90245; or (d) emailing lordstowninfo@kccllc.com (with ‘Lordstown’ in the
subject line). Please note that the Solicitation Agent is not authorized to, and will not, provide
legal advice to you. If you need legal advice, please consult with your attorney. You may also
access from these materials for a fee via PACER at http://www.deb.uscourts.gov/.

              NOTICE REGARDING CERTAIN RELEASE, EXCULPATION
                   AND INJUNCTION PROVISIONS IN THE PLAN

THE PLAN CONTAINS RELEASE, INJUNCTION, AND EXCULPATION PROVISIONS,
WHICH WILL BECOME EFFECTIVE IF THE PLAN IS CONFIRMED. PLEASE BE
ADVISED THAT ARTICLE VIII OF THE PLAN PROVIDES:

       C.      Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever released, waived, and discharged the
Released Parties from any and all Claims, Interests, obligations, rights, suits, damages,
Causes of Action, remedies, and liabilities whatsoever, in each case, whether prepetition or
postpetition (including any derivative Claims asserted or that may be asserted on behalf of
the Debtors or their Estates), whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, equity, or otherwise, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors or the conduct of their business (in each case,
whether prepetition or postpetition), the formulation, preparation, dissemination,
negotiation of the Plan, the Disclosure Statement, any contract, instrument, release, or other
agreement or document created or entered into in connection with the Plan, the Disclosure
Statement, the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the distribution of property
under the Plan, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date (in each case, whether prepetition or postpetition) related or relating to the foregoing.

                                                 7
              Case 23-10831-MFW                   Doc 651-24          Filed 11/01/23           Page 9 of 14




Notwithstanding anything to the contrary in the foregoing, the releases set forth in this
Article VIII.C shall not release (i) any Released Party from Claims or Causes of Action
arising from an act or omission that is judicially determined by a Final Order to have
constituted actual fraud, willful misconduct, or gross negligence, or (ii) any post-Effective
Date obligations of any party or Entity under the Plan or any document, instrument, or
agreement executed to implement the Plan.

         D.        Releases by Holders of Claims and Interests

        As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party3 shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released, waived, and discharged each Debtor,
Post-Effective Date Debtor, and other Released Party4 from any and all Claims, obligations,
rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever (in each case,
whether prepetition or postpetition), including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates, that such Entity would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of the
Holder of any Claim or Interest, whether known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors or the conduct of their business (in
each case, whether prepetition or postpetition), the formulation, preparation, dissemination,
or negotiation of the Plan, the Disclosure Statement, any contract, instrument, release, or
other agreement or document created or entered into in connection with the Plan, the
Disclosure Statement, the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of

3
  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding Entities
in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan under applicable
law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action Representatives shall not
be deemed to be Releasing Parties.
4
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or otherwise
opt in to the releases shall not be a Released Party.
“Excluded Parties” means Foxconn and the Former Directors and Officers.

                                                               8
          Case 23-10831-MFW         Doc 651-24      Filed 11/01/23    Page 10 of 14




Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan, or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date (in each case, whether prepetition or postpetition) related or relating to
the foregoing. Without limiting the generality of the foregoing, and subject to the paragraph
directly below, pursuant to the Releases set forth in this Article VIII.D, each Releasing Party
shall be deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever
released, waived, and discharged each Released Party from any Claims related to or asserted
in the Putative Class Actions (which actions include, for the avoidance of any doubt, the Ohio
Securities Class Action, the Delaware Shareholder Class Action, and the Post-Petition
Securities Action). Notwithstanding anything to the contrary in the foregoing, the releases
set forth in this Article VIII.D shall not be construed as (i) releasing any Released Party from
Claims or Causes of Action arising from an act or omission that is judicially determined by
a Final Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease has
been assumed by the Debtors pursuant to Final Order, or (C) any document, instrument, or
agreement executed to implement the Plan, or (iii) releasing any rights to distributions
required to be paid or delivered pursuant to the Plan or the Confirmation Order.

       Notwithstanding anything to the contrary in the preceding paragraph, the Putative
Class Action Representatives shall not be deemed to constitute Releasing Parties; provided,
that the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from
the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

      Additionally, notwithstanding anything to the contrary in the Plan or the
Confirmation Order, nothing herein or therein does, shall, or may be construed to release,
the Debtors or bar the assertion of claims against them as nominal defendants in the Post-


                                               9
              Case 23-10831-MFW               Doc 651-24          Filed 11/01/23         Page 11 of 14




Petition Securities Action for purposes of preserving and enforcing rights to coverage under
and recovery of the proceeds of the D&O Liability Insurance Policies.

         E.       Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party5 shall have
or incur liability for, and each Exculpated Party is hereby exculpated from, any Cause of
Action for any claim related to any act or omission from the Petition Date to the Effective
Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in whole or in
part, the Debtors, the formulation, preparation, dissemination, negotiation, of the Plan, the
Disclosure Statement, any contract, instrument, release, or other agreement or document
created or entered into in connection with the Plan, the Disclosure Statement, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan or the distribution of Cash under the Plan,
or any other related agreement, except for Claims or Causes of Action arising from an act
or omission that is judicially determined in a Final Order to have constituted actual fraud,
willful misconduct, or gross negligence, but in all respects, such Exculpated Parties shall be
entitled to the fullest extent permitted by law to reasonably rely upon the advice of counsel
with respect to their duties and responsibilities. The Exculpated Parties have, and upon
Consummation of the Plan, shall be deemed to have, participated in good faith and in
compliance with the applicable laws with regard to the solicitation of, and distribution of,
consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.

         F.       Injunction

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE SUBJECT
TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO

5
  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC and
the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners, officers,
directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals, to the
extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and (v)
above on or after the Petition Date.

                                                           10
       Case 23-10831-MFW   Doc 651-24   Filed 11/01/23   Page 12 of 14




THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
(IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS OF CLASS 5
UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR
IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH THE
BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.

     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN
PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).




                                   11
          Case 23-10831-MFW          Doc 651-24      Filed 11/01/23     Page 13 of 14




 PLEASE BE ADVISED THAT IF YOUR CLAIM IS UNIMPAIRED UNDER THE
PLAN OR YOU ARE THE HOLDER OF AN UNCLASSIFIED CLAIM UNDER THE
     PLAN, YOU WILL BE DEEMED TO HAVE GRANTED THE RELEASES
CONTAINED IN ARTICLE VIII.D OF THE PLAN UNLESS YOU FILE A TIMELY
                      OBJECTION TO THE PLAN.
    PLEASE ALSO BE ADVISED THAT IF YOU ARE ENTITLED TO VOTE, AND
  (A) VOTE TO ACCEPT THE PLAN, OR (B) REJECT THE PLAN AND OPT IN TO
  THE RELEASE PROVISIONS IN THE PLAN, YOU WILL BE DEEMED TO HAVE
 GRANTED THE RELEASES IN ARTICLE VIII.D OF THE PLAN. IF YOU DO NOT
 RETURN THE BALLOT OR ABSTAIN FROM VOTING ON THE PLAN, YOU WILL
                   NOT BE BOUND BY THE RELEASES.

The Plan also contains other related provisions that may affect your rights against the Debtors.

YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE INJUNCTION, RELEASE, AND EXCULPATION PROVISIONS, AS
YOUR RIGHTS MAY BE AFFECTED.




                                                12
         Case 23-10831-MFW         Doc 651-24   Filed 11/01/23   Page 14 of 14




Dated: October [●], 2023                   WHITE & CASE LLP
                                           Thomas E Lauria (admitted pro hac vice)
Respectfully submitted,
                                           Matthew C. Brown (admitted pro hac vice)
                                           Fan B. He (admitted pro hac vice)
/s/
                                           200 South Biscayne Boulevard, Suite 4900
                                           Miami, FL 33131
WOMBLE BOND DICKINSON (US)
                                           Telephone: (305) 371-2700
LLP
                                           tlauria@whitecase.com
                                           mbrown@whitecase.com
Donald J. Detweiler (Bar No. 3087)
                                           fhe@whitecase.com
Morgan L. Patterson (Bar No. 5388)
1313 North Market Street, Suite 1200
                                           David M. Turetsky (admitted pro hac vice)
Wilmington, Delaware 19801
                                           1221 Avenue of the Americas
Telephone: (302) 252-4320
                                           New York, NY 10020
Facsimile: (302) 252-4330
                                           Telephone: (212) 819-8200
don.detweiler@wbd-us.com
                                           david.turetsky@whitecase.com
morgan.patterson@wbd-us.com
                                           Jason N. Zakia (admitted pro hac vice)
Proposed Counsel to the Debtors and
                                           111 South Wacker Drive, Suite 5100
Debtors in Possession
                                           Chicago, IL 60606
                                           Telephone: (312) 881-5400
                                           jzakia@whitecase.com

                                           Roberto Kampfner (admitted pro hac vice)
                                           Doah Kim (admitted pro hac vice)
                                           RJ Szuba (admitted pro hac vice)
                                           555 South Flower Street, Suite 2700
                                           Los Angeles, CA 90071
                                           Telephone: (213) 620-7700
                                           rkampfner@whitecase.com
                                           doah.kim@whitecase.com
                                           rj.szuba@whitecase.com

                                           Counsel to Debtors and Debtors-in-Possession




                                           13
